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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                       Case No.: 11-60385-Civ-Ungaro/Torres

 ALBA M. CUETO,

       Plaintiff,

 v.

 GC SERVICES LIMITED PARTNERSHIP

      Defendant.
 _________________________________________/

        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all

 matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

 this action with each party to bear its own attorney’s fees and costs except as

 otherwise agreed by the parties.


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 By: /s/ Donald A. Yarbrough             By: /s/ Barbara Fernandez
 Donald A. Yarbrough, Esq.               Barbara Fernandez, Esq.
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 _______________________________/

                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 9, 2011, I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record or pro se
 parties identified on the attached Service List in the manner specified, either via
 transmission of Notices of Electronic Filing generated by CM/ECF or in some
 other authorized manner for those counsel or parties who are not authorized to
 receive electronically Notices of Electronic Filing.


                                              s/Donald A. Yarbrough
                                              Donald A. Yarbrough, Esq.

                                  SERVICE LIST

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